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                                                            Hearing Date: April 10, 2018 at 10:00 AM
                                                                                   Re: ECF No. 6, 20

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                 )
                                                 )
 In re:                                          )   Chapter 11
                                                 )
 QUINCY ST III CORP.,                            )   Case No. 18-22294 (RDD)
                                                 )
                       Debtor.                   )
                                                 )
                                                 )
                                                 )

                    1077 MADISON STREET LLC’S REPLY TO THE
               DEBTOR’S OBJECTON TO THE MOTION OF 1077 MADISON
               STREET LLC FOR RELIEF FROM THE AUTOMATIC STAY

                1077 Madison Street LLC (“1077 LLC”), by and through its counsel, hereby files

this reply (the “Reply”) to the objection [Docket No. 20] of the above-captioned debtor (the

“Debtor”) to 1077 LLC’s motion for stay relief (the “Stay Relief Motion”) [Docket No. 6] with

respect to the Debtor and that certain two-family, investment property located 299 Quincy Street,

Brooklyn, NY 11216 [Block 1803, Lot 66] (the “Property”), on which 1077 LLC holds a final

judgment of foreclosure and sale and first lien mortgage.

                In support hereof, 1077 LLC respectfully states as follows:

                                             REPLY

          1.    As set forth in the Stay Relief Motion, 1077 LLC holds a claim against the Debtor

in the amount of $1,027,432.07 as of February 22, 2018, the petition date in this case. 1077 LLC

filed Claim No. 1 in this case as the named judgment creditor on that certain final judgment of

foreclosure and sale entered December 19, 2017 (the “Judgment”) in New York State Supreme

Court for Kings County, Index No. 34103/2006 (the “Foreclosure Action”). The Foreclosure

Action has been pending for twelve years against a non-Debtor. In the middle of that litigation,

the Debtor acquired the Property and did not satisfy the underlying mortgage of 1077 LLC.
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       2.      Notwithstanding the entry of the final Judgment, throughout the Objection the

Debtor makes inflammatory claims concerning “fraud,” “lackluster [foreclosure] proceeding,”

“phony mortgage,” the original obligor’s “purported[]default,” and reference a litany of

“purported” assignments. These statements are sure to get the Court’s attention. However, there

is no valid state law challenge to 1077 LLC’s claim or 1077 LLC’s right to assert it in this case

against the Debtor given that 1077 LLC is the named judgment creditor and that the Judgment

fixes the amount due and authorizes the sale of the Property. There is also no dispute that 1077

LLC is also the holder of the original note endorsed in blank. A true and correct copy of that

note is attached hereto as Exhibit A. Even putting aside the final Judgment, the issues that the

Debtor tries to create concerning the chain of assignments are irrelevant even if they were true.

There is no requirement under state law that a holder like 1077 LLC establish how it came into

the possession of a note endorsed in blank. See JPMorgan Chase Bank, Nat. Ass'n v.

Weinberger, 142 A.D.3d 643, 644 (App.Div. 2nd Dept. 2016). (“There is simply no requirement

that an entity in possession of a negotiable instrument that has been endorsed in blank must

establish how it came into possession of the instrument in order to be able to enforce it.”) (citing

UCC 3-204(2)). “[I]t is unnecessary to give factual details of the delivery in order to establish

that possession was obtained prior to a particular date.” Id. (citing Aurora Loan Servs., LLC v

Taylor, 25 NY3d 355, 361-362 (N.Y. 2015).) Even if any of these issues raised by the Debtor

were relevant, they should be raised in and decided by the state court. Therefore, these

arguments by the Debtor support stay relief in this case.

The Burdens of Proof on the Stay Relief Motion Favor Granting the Motion

       3.      The movant, 1077 LLC, bears a prima facie burden of proof of all issues but,

under 362(g), that burden shifts to the Debtor on all issues except Debtor’s equity. 1077 LLC




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met its prima facie burden in numerous ways, including Debtor’s lack of equity, but the Debtor’s

opposition fails to sustain any of the Debtor’s burdens under section 362(g). There is no material

dispute about the value of the Property here. The adequate protection offered by the Debtor is

not adequate by any means in that the Debtor has no equity in the Property and is merely offering

to hoard excess cash and pay current expenses as a form of adequate protection. Finally, the

Debtor has offered nothing concrete about its ability to reorganize other than to say its strategy is

to litigate the 1077 LLC claim until a plan emerges. Based on the foregoing, the Court should

grant the Stay Relief Motion.

There in No Time Limitation on a Motion for Stay Relief

       4.      The Debtor’s first objection to the Stay Relief Motion is that it was filed just over

two weeks into the case. As a plain reading of 362(d) makes clear, there is no time limitation

within 362(d). Once the conditions for stay relief are satisfied, the court “shall” grant stay relief.

Congress could easily have included a waiting period as it did for exclusivity but it did not. If

the conditions are right for modifying the stay in some way, the court is mandated to do it under

the law. 1077 LLC submits that those conditions are right here. To the extent passage of time is

implicated in stay relief, it is implicated in the second branch of 362(d)(2) on the Debtor’s

burden of proof for a successful reorganization. The Debtor has not shown anything but a plan

to litigate or negotiate down the 1077 LLC claim amount as its exit strategy in this case.

Accordingly, even at this early stage, it is clear that the Debtor has no strategy at all let alone one

with a reasonable prospect of reorganization.

Attempts to Create a State Law Issue Should be Disregarded or Referred to the State Court

       5.      As noted, the Debtor spends half of the objection challenging 1077 LLC’s rights

under the Judgment. First, the Debtor’s wrongly transferred Property is what is affected by the




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Judgment, not the Debtor itself. Second, contrary to the Debtor’s implications, the Foreclosure

Action was not secret. It was a matter of public record. Third, the Debtor could have and should

have satisfied the 1077 LLC mortgage when the Debtor closed on the purchase. It did not. The

Debtor could also have satisfied the mortgage sometime during the five years of foreclosure

proceedings after it acquired the Property. It did not. Fourth, the Debtor could have attempted

to intervene in the Foreclosure Action. It did not. The Debtor could have at least appeared in the

Foreclosure Action for notice purposes in the matter. It did not. Finally, the Judgment does

nothing to cut off or curtail in any way the Debtor’s equitable right of redemption and that is the

Debtor’s only legal interest or concern with the Judgment.

           6.       As noted, to the extent that there is any valid dispute over the details of the entry

of the Judgment that was entered in state court, then such dispute is itself grounds for relief under

Sonnax1 to refer the matter back to state court for a resolution. As a final judgment, this Court

may not set it aside as it is entitled to the full faith and credit of this Court. See generally 28

U.S.C. §1738. As a non-party to the Judgment, the Debtor is not entitled to challenge it in this or

any court. That said, 1077 LLC submits that if the stay is lifted, all parties including the Debtor

retain all of their state law rights to the extent they exist to challenge the entry of that Judgment

in state court. Experience tell us though that the Debtor will resist that at all cost and would not

want to pursue those state law rights anywhere but in this Court and the Court should query as to

why. Clearly, the Debtor is relying on this Court to resurrect the Foreclosure Action, set aside

the Judgment and re-litigate those proceedings long after the Judgment was entered. This Court

should not do so.




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    In re Sonnax Industries, 907 F.2d 1280, 1285 (2d Cir.1990).



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                                  RESERVATION OF RIGHTS

       7.      1077 LLC hereby reserves its right to supplement this reply if the Debtor files

additional documents or makes additional arguments in connection with the Stay Relief Motion.

Further, 1077 LLC expressly reserves and does not waive any and all of its rights, claims, and/or

defenses in connection with its Judgment and claim in this case. 1077 LLC reserves the right to

oppose on any basis any additional relief sought by the Debtor on any issue in this case and

reserves its rights with respect to all other issues, including valuation for any reason in this case.

                                                        RAVERT PLLC
Dated: April 9, 2018
       New York, New York
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